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     Attorneys for Defendants CITY OF FRESNO, MICHAEL GUTHRIE, MARTY WEST,
10   and ROGER ENMARK
11
                                UNITED STATES DISTRICT COURT
12
                                EASTERN DISTRICT OF CALIFORNIA
13
14   MICHAEL NEVEU,                           ) Case No. CIV-F-04-6490 OWW/JLD
                                              )
15                       Plaintiff,           )
                                              )
16          v.                                )
                                              )     STIPULATION AND ORDER RE
17   CITY OF FRESNO, a municipality; JERRY )        TRIAL AND PRETRIAL DATES
     DYER, individually; MICHAEL GUTHRIE, )
18   individually; GREG GARNER, individually; )
     DARREL FIFIELD, individually; MARTY      )
19   WEST, individually; ROGER ENMARK,        )
     individually; and DOES 1 through 10,     )
20                                            )
                         Defendants.          )
21                                            )
22          IT IS HEREBY STIPULATED AND AGREED, by and between the parties,
23   through their respective counsel of record, as follows:
24          1.     On September 10, 2007, Plaintiff obtained new counsel for representation
25   in the captioned matter.
26          2.     As a result of new counsel, the Court continued the September 11, 2007
27   trial and instructed counsel to provide the Court with a stipulation regarding a new trial
28   date and pretrial dates.

                                                                                     Stip re Dismissal
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 1          3.      The parties have met and conferred and are in agreement with the
 2   following trial and pretrial dates:
 3          Trial                                        November 27, 2007         9:00 AM
 4          Pretrial Conference                          October 22, 2007          11:00 AM
 5          Hearing on motions in limine                 November 9, 2007          12:00 PM
 6          Last date to file motions in limine          October 26, 2007
 7          Last date to file opposition to              November 2, 2007
                  motions in limine
 8
 9   Dated: October 9, 2007                       BETTS & WRIGHT
10
11                                                By /s/ Joseph D. Rubin
                                                         Joseph D. Rubin
12                                                Attorneys for Defendants CITY OF FRESNO,
                                                  MICHAEL GUTHRIE, MARTY WEST, and
13                                                ROGER ENMARK
14
     Dated: October 9, 2007                       BARSOTTI & BAKER
15
16
                                                  By /s/ K. Poncho Baker
17                                                       K. Poncho Baker
                                                  Attorneys for Plaintiff
18                                                MICHAEL NEVEU
19
                                                  ORDER
20
21          IT IS SO ORDERED.
22   Dated: October 9, 2007                            /s/ Oliver W. Wanger
     emm0d6                                       UNITED STATES DISTRICT JUDGE
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                                                   -2-                               Stip re Dismissal
